Case 2:05-CV-02052-STA-tmp_ Document 19 Filed 08/30/05 Pag§ 1 of 2 Page|D 23

    
 

Fl.'.ED
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEEUS AU{; 3
WESTERN DIVISION ' 0

ED_

 

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RAMONA HILLMAN, iff/3 55 !Ji§#rw/U;MT
Plaintiff,
vs. cAsE No= 05-2052 B/P

SHELBY COUNTY,

Defenda.nt.

 

ORDER

 

This matter having come before the Court, upon motion of the plaintiff,
by and through her counsel Kathleen L. Caldwell, for a forty-five (45] day
extension of time to Respond to Defendant's Motion to Dismiss or Alternatively
Motion for Summary Judgrnent, and upon argument of counsel the Court finds
that said motion is Well-taken and should be granted.

IT IS, THEREFORE, ORDERED that an extension of forty-five [45) days
is granted up to and including September 28, 2005 .

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ORDERED this the day of August, 2005.

dba

@District Judge

'fhi-, document ordered on the docket h/ee bco..apllenc.c,
with Ru!e 58 and/or 79(a`) F$-KCP on 8 §§ 05

STATES DISTRICT OURT - WESTER DISRICT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02052 Was distributed by faX, mail, or direct printing on

August 30, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

